
686 S.E.2d 515 (2009)
Cathy HINCEMAN, Employee
v.
FOOD LION, Self-Insured (Delhaize America, Inc., Servicing Agent), Employer.
No. 4P09.
Supreme Court of North Carolina.
November 5, 2009.
Randy D. Duncan, Hickory, for Hinceman.
Joel K. Turner, Charlotte, for Food Lion, et al.

ORDER
Upon consideration of the petition filed on the 5th of January 2009 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 5th of November 2009."
